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                                                                                     FILED
                                                                                   U.S. DISTRICT COURT
                                                                               EASTERN DISTRICT ARKANSAS


                       IN THE UNITED STATES DISTRICT COURT        FEB 05 2014
                           EASTERN DISTRICT OF ARKANSAS JAME:f9-
                                WESTERN DIVISION
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UNITED STATES OF AMERICA                                                                   PLAINTIFF

v.                                    NO. 4:05CR00330-01 JLH

BRIAN MONQUEZ MCMILLER                                                               DEFENDANT

                                             ORDER

       Court convened for a scheduled supervised release revocation hearing on this date.

Following imposition of sentence, defendant moved for temporary release to attend the funeral for

his step-father on Saturday, February 8, 2014. Without objection, the motion is GRANTED.

       Upon providing her phone number and contact information to United States Probation

Officer Kyle Estes, Amber McCuien will be allowed to pick up defendant from the Pulaski County

Detention Center at 8:00a.m. on Saturday, February 8, 2014, to attend the funeral of his step-father.

Defendant must return to the Pulaski County Detention Center no later than 5:00p.m. on Saturday,

February 8, 2014.

       Amber McCuien must provide her phone number and contact information to United States

Probation Officer Kyle Estes by 5:00p.m. on Thursday, February 6, 2014.

       IT IS SO ORDERED this ~day of February, 2014.




                                                      UNITED STATES DISTRICT JUDGE
